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                               UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                           ORLANDO DIVISION

UNITED STATES OF AMERICA

v.                                                              Case No: 6:21-mj-1015-EJK

ANDREW WILLIAMS


                                                                                           AUSA: Karen Gable
                                                                                  Defense Attorney: Vince Citro

 JUDGE:           EMBRY J. KIDD                               DATE AND TIME:                  January 12, 2021
                  United States Magistrate Judge                                           4:05 P.M.- 4:34 P.M.
                                                                                                    29 minutes
 Courtroom:       3A                                          TOTAL TIME:



 DEPUTY           T. LeGros                                   REPORTER:                                      Digital
 CLERK:                                                                           Orlando_Digital_Transcripts@flmd.us
                                                                                                            courts.gov
 INTERPRETER:     N/A                                         PRETRIAL:                             Juan Cabrera


                                            CLERK S MINUTES
                                         INITIAL APPEARANCE
                                     (Rule 5C District of Columbia)

Case called, appearances made, procedural setting by the Court.
Defendant has retained counsel.
Court inquires of the defendant; No issue as to competency.
Government advises defendant of the charges in the Complaint and potential penalties
Court advises defendant of his rights, including Due Process and Rule 20 rights.
Defendant waives Rule 5 & 5.1 hearings as to preliminary hearing and identity.
Government is not seeking detention.
Defendant is released with conditions as set forth in the Order Setting Conditions of Release.
Court adjourned.
